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     PATRICK BURNS
2    Assistant United States Attorney
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     Las Vegas, Nevada 89101
4    (702) 388-6336/Fax: (702) 388- 6418
     John.P.Burns@usdoj.gov
5    Representing the United States of America
6                      UNITED STATES DISTRICT COURT
7                           DISTRICT OF NEVADA
                                             -OOO-
8    UNITED STATES OF AMERICA,

9                               Plaintiff,       CASE NO: 2:17-cr-00001-JAD-CWH

10       vs.
                                                 STIPULATION TO CONTINUE
     (#16) LORENZO RAMON SALA                    SENTENCING
11         MOURA,
            a/k/a “Lorenzo Mour,”
12         a/k/a Lorenzo Ramon Moura
           Sala Mala Vila
13                         Defendant.

14         It is hereby stipulated and agreed, by and between Steven W. Myhre, Acting

15   United States Attorney, through Patrick Burns, Assistant United States Attorney,

16   and Ronald Manto, Esq., counsel for Defendant Lorenzo Ramon Salal Moura, that

17   the sentencing hearing date in the above-captioned matter, previously scheduled for

18   December 4, 2017, at 9:00 a.m., be vacated and continued until a time convenient to

19   the Court, preferably in the latter part of May 2018 or early June 2018.

20         This Stipulation is entered into for the following reasons:

21         1.     Counsel for Defendant Sala Moura and the Government require

22   additional time to prepare for sentencing in this matter.

23         2.     Defendant Sala Moura is in custody and does not oppose this request.
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 1         3.    The Government does not oppose this request.

 2         4.    This is the fourth request for a continuance filed in this matter.

 3         5.    This request is made in good faith and not for purposes of delay.

 4
     Dated this 1st day of December, 2017
 5
                                                  STEVEN W. MYHRE
 6                                                Acting United States Attorney


           /s/                                          /s/
 7
     By: _______________________                  By:____________________
 8       RONALD MANTO, Esq.,                         PATRICK BURNS
         Counsel for Defendant SALA MOURA            Assistant United States Attorney
 9

10
           /s/
11   By: _______________________
         JOSH TOMSHECK, Esq.
12       Counsel for Defendant SALA MOURA

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 1                       UNITED STATES DISTRICT COURT
 2                            DISTRICT OF NEVADA
                                               -OOO-
 3
      UNITED STATES OF AMERICA,
 4
                                  Plaintiff,       CASE NO: 2:17-cr-00001-JAD-CWH
 5
           vs.
 6
      (#16) LORENZO RAMON SALA
            MOURA,                                         FINDINGS OF FACT
 7           a/k/a “Lorenzo Mour,”
            a/k/a Lorenzo Ramon Moura
 8          Sala Mala Vila
                            Defendant.
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             Based on the pending Stipulation of counsel, and good cause appearing
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     therefore, the Court finds that:
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             1. Counsel for Defendant Sala Moura and the Government require additional
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                 time to prepare for sentencing in this matter, including researching and
13
                 investigating issues important to the anticipated sentencing outcome.
14
             2. Defendant Sala Moura is in custody and does not oppose this request.
15
             3. The Government does not oppose this request.
16
             4. This is the fourth request for a continuance filed in this matter.
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        Case 2:17-cr-00001-JAD-DJA       Document 229     Filed 12/04/17   Page 4 of 5




 1
                                           ORDER
 2         IT IS FURTHER ORDERED that the sentencing in United States v. Lorenzo
 3   Ramon Sala Moura , 2:17-CR-00001-JAD-CWH, previously scheduled for December

 4   4, 2017 at 9:00 a.m. is vacated and continued until _____________
                                                         June         _________.
                                                         a.m. 4, 2018 at 9:00 a.m.

 5
     Dated
     DATEDthis
           this___day
                1st dayofofDecember,
                            December,2017
                                      2017.
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 8                                                By: _______________________
                                                     Judge Jennifer A. Dorsey
 9                                                   United States District Court Judge

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 1
                                 Certificate of Service
 2        I, Patrick Burns, hereby certify that I am an employee of the United States
 3   Department of Justice, and that on this day I served a copy of the following:

 4   STIPULATION TO CONTINUE SENTENCING, upon counsel for all defendants

     appearing in this matter via the CM/ECF system, by electronically filing said
 5
     document.
 6

 7   Dated:   December 1, 2017

 8
                       /s/ Patrick Burns
 9                     PATRICK BURNS
                       Assistant United States Attorney
10                     District of Nevada

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